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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

Ronald A. Bagley, Jr., )
)

Plaintiff. )

)

v. ) Civil Action No. l7-cv-967 (UNA)

)

District of Columbia )
Department of Employment Services et al., )
)

Defendants. )

)

MEMORANDUM OPINION

This matter is before the Court on its initial review of plaintiff s pro se complaint and
application for leave to proceed informal pauperis. The Court will grant the in forma pauperis
application and dismiss the case because the complaint fails to meet the minimal pleading
requirements of Rule 8(a) of the F ederal Rules of Civil Procedure.

Pro se litigants must comply with the F ederal Rules of Civil Procedure. Jarrell v. Tisch,
656 F. Supp. 237, 239 (D.D.C. 1987). Rule 8(a) ofthe Federal Rules of Civil Procedure requires
complaints to contain “(l) a short and plain statement of the grounds for the court’s jurisdiction
[and] (2) a short and plain statement of the claim showing that the pleader is entitled to relief.”
Fed. R. Civ. P. 8(a); see Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (2()()9); Ciralsky v. CIA, 355
F.3d 661 , 668-71 (D.C. Cir. 2004). The Rule 8 standard ensures that defendants receive fair
notice of the claim being asserted so that they can prepare a responsive answer and an adequate
defense and determine whether the doctrine of res judicata applies. Brown v. Calz`fano, 75

F.R.D. 497, 498 (D.D.C. 1977). “[A] complaint that is excessively long, rambling, disjointed,

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incoherent, or full of irrelevant and confusing material does not meet [Rule 8’s] liberal pleading
requirement." T.M v. D.C., 961 F. Supp. 2d 169, 174 (D.D.C. 2013).

The instant complaint is comprised of cryptic statements and various attachments that fail
to provide any notice of a claim and the basis of federal court jurisdiction Consequently, this

case will be dismissed A separate order accompanies this Memorandum Opinion.

/Jé/w/ {é“”

Date: June / ,2017 UnitedS tes I‘)’istrictJudge

